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UNITED STATES OF AMERICA
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------X

USA
                                                                21 Cr. 158-02 (NSR)
            - against -

ASHLEY REDMOND,                                                 ORDER ACCEPTING
                                                                PLEA ALLOCUTION
                                   Defendant.

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NELSON S. ROMÁN, U.S.D.J.:

        The Court has reviewed the transcript of the plea allocution in the above-entitled case, the

charging papers, and all other pertinent parts of the record. The Report and Recommendation of

the Honorable Paul E Davison, United States Magistrate Judge, dated October 5, 2021, is

approved and accepted.



                                                                SO ORDERED.




                                                         Nelson S. Román
                                                         United States District Judge

Dated: White Plains, NY
       Nov. 5, 2021




                11/5/2021
